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1
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3
     Attorney for Defendant Nazaret Salmanyan
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8
                           IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11                                               )   Case No.: 2:08-cr-00427-MCE
     UNITED STATES OF AMERICA,                   )
12                                               )   STIPULATION AND ORDER TO
                    Plaintiff,                   )   CONTINUE JUDGMENT AND
13                                               )   SENTENCING
         v.                                      )
14   NAZARET SALMANYAN,                          )   Date:    October 20, 2011
                                                 )   Time:    9:00 a.m.
15                  Defendant                    )   Judge:   Hon. Morrison C. England, Jr.
                                                 )
16

17
           IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
18
     Judgment and Sentencing scheduled for July 28, 2011 at 9:00 a.m. is continued to
19
     October 20, 2011 at 9:00 a.m. in the same courtroom. Philip A. Ferrari, Assistant United
20
     States Attorney and Thomas A. Johnson, Defendant’s attorney both agree to this
21
     continuance.
22
           It is further stipulated that the period from the date of this stipulation through and
23
     including October 20, 2011, be excluded in computing the time within which trial must
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     commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
25
     Local T4 (reasonable time for preparation of counsel).
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1    IT IS SO STIPULATED.
2

3    DATED: July 13, 2011                                 By:    /s/ Thomas A. Johnson_____
                                                                 THOMAS A. JOHNSON
4                                                                Attorney for Defendant
                                                                 NAZARET SALMANYAN
5

6    DATED: July 13, 2011                                        BENJAMIN WAGNER
                                                                 United States Attorney
7
                                                          By:    /s/ Thomas A. Johnson for_
8                                                                Philip A. Ferrari
                                                                 Assistant U.S. Attorney
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11
                                                         ORDER
12

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                            IT IS HEREBY ORDERED that the Judgment and Sentencing scheduled for

14   Thursday, July 28, 2011 at 9:00 a.m. be continued to Thursday, October 20, 2011 at 9:00

15
     a.m. and that the period from July 28, 2011 to October 20, 2011 is excludable from

16
     calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(7)(B)(iv) and

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     local rule T4. The Court specifically finds that the ends of justice served by taking the

18   action ordered outweigh the best interest of the public and the defendant in a speedy trial.

19   Date: 7/15/2011

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21
                                                       __________________________________
22
                                                       MORRISON C. ENGLAND, JR
23                                                     UNITED STATES DISTRICT JUDGE

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25   DEAC_Signatu re-END:




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